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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                        Criminal Action No. 22-38 (BAH)

                       v.                        Judge Beryl A. Howell

 JOLENE EICHER,

                       Defendant.


                                           ORDER

       Upon consideration of defendant’s Notice of Public Authority Defense (“Def.’s Notice”),

ECF No. 48, the government’s Motion in Limine to Preclude Argument or Evidence About

Public Authority, ECF No. 51, the related memoranda in support and in opposition, and the

entire record herein, for the reasons set forth in the accompanying Memorandum Opinion, it is

hereby—

       ORDERED that the government’s Motion in Limine to Preclude Argument or Evidence

About Public Authority, ECF No. 51, is GRANTED.

       SO ORDERED.



       Date: May 23, 2023



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                                                   BERYL A. HOWELL
                                                   U.S. District Judge
